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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      Criminal No. 1:24-CR-00273



            V.


ASHLEY PHY,
                   Defendant.

                                      ORDER


      AND NOW, this 9th day of October 2024, pursuant to the Due Process

Protections Act, IT IS HEREBY ORDERED THAT:

      1. The Court confirms the United States' obligation to produce all

exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83

(1963) and its progeny, and orders it to do so.

      2. Under Brady, the prosecutor must produce material evidence in

its possession, custody, or control favorable to the accused, which includes both

exculpatory evidence and information which may impeach government witnesses

when that evidence is material either to guilt or punishment.
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      3. Failing to produce the material evidence in a timely manner

may result in consequences, including, but not limited to, exclusion of evidence,

adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions

by the Court.




                                             s/Susan E. Schwab
                                             Susan E. Schwab
                                             United States Magistrate Judge
